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Amy L. Ruhland
Texas Bar No. 24043561
REICHMAN JORGENSEN LEHMAN & FELDBERG LLP
901 S. Mopac Expwy, Suite 300
Austin, TX 78746
Tel.: (737) 227-3102
Email: aruhland@reichmanjorgensen.com

Charles W. Gameros, Jr., P.C.
Texas Bar No. 00796956
Douglas Wade Carvell, P.C.
Texas Bar No. 00796316
HOGE & GAMEROS. L.L.P.
6116 North Central Expressway, Suite 1400
Dallas, Texas 75206
Tel.: 214-765-6002
Email: bgameros@legaltexas.com
        wcarvell@legaltexas.com

Attorneys for NexPoint Real Estate Partners,
LLC (f/k/a HCRE Partners, LLC)

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re:                                           Chapter 11

  HIGHLAND CAPITAL MANAGEMENT,                     Case N. 19-34054 (SGJ)
  L.P.

                                Debtor.




                              AMENDED NOTICE OF APPEAL

           NOTICE IS HEREBY GIVEN THAT, pursuant to 28 U.S.C. § 158(a) and Rules 8002 and

8003 of the Federal Rules of Bankruptcy Procedure, NexPoint Real Estate Partners, LLC (f/k/a

HCRE Partners, LLC) hereby appeals to the United States District for the Northern District of

Texas from the Memorandum, Opinion and Order Granting Highland Capital Management,

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L.P.’s Motion for (A) Bad Faith Finding and (B) Attorneys’ Fees Against NexPoint Real Estate

Partners LLC (F/K/A HCRE Partners, LLC) in Connection With Proof of Claim # 146 [Dkt. Nos.

4038 and 4039] (the “Order”), entered by the United States Bankruptcy Court for the Northern

District on March 5, 2024. A true and correct copy of the Order is attached hereto as Exhibits A

and B. The parties to the appeal are as follows:

Appellant/Respondent: NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC)

Attorneys:
Amy L. Ruhland
REICHMAN JORGENSEN LEHMAN & FELDBERG
901 S. Mopac Expwy, Suite 300
Austin, TX 78746
Tel.: ( 737) 227-3102
Email: aruhland@reichmanjorgensen.com

Charles W. Gameros, Jr., P.C.
Douglas Wade Carvell, P.C.
HOGE & GAMEROS. L.L.P.
6116 North Central Expressway, Suite 1400
Dallas, Texas 75206
Tel.: 214-765-6002
Email: bgameros@legaltexas.com
wcarvell@legaltexas.com

Appellee/Movant: Highland Capital Management, L.P.

Attorneys:
Jeffery N. Pomerantz
Ira D. Kharasch
John A. Morris
Gregory V. Demo
Hayley R. Winograd
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760
Email: jpomerantz@pszjlaw.com
        ikharasch@pszjlaw.com
        jmorris@pszjlaw.com
        gdemo@pszjlaw.com
        hwinofrad@pszjlaw.com
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Dated: March 20, 2024                       Respectfully Submitted,

                                            REICHMAN JORGENSEN LEHMAN &
                                            FELDBERG

                                            / s/
                                            Amy L. Ruhland
                                            Texas Bar No. 24043561
                                            aruhland@reichmanjorgensen.com
                                            901 S. Mopac Expwy, Suite 300
                                            Austin, TX 78746
                                            Tel.: ( 737) 227-3102

                                            HOGE & GAMEROS. L.L.P

                                            Charles W. Gameros, Jr., P.C.
                                            Texas Bar No. 00796956
                                            bgameros@legaltexas.com
                                            Douglas Wade Carvell, P.C.
                                            Texas Bar No. 00796316
                                            wcarvell@legaltexas.com
                                            6116 North Central Expressway, Suite 1400
                                            Dallas, Texas 75206
                                            Tel.: 214-765-6002

                                            Attorneys for NexPoint Real Estate Partners,
                                            LLC (f/k/a HCRE Partners, LLC)




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 20, 2024, a true and correct copy of this
document was served electronically via the Court’s CM/ECF system to the parties registered or
otherwise entitled to receive electronic notices in this case.


                                                  / s/ Amy L. Ru h l a nd
                                                  Amy L. Ruhland




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